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                             IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,                              )
                                                       )
                                                       )
          Plaintiff,                                   )      Case No. 1:19-cr-00936-WJ
                                                       )
          vs.                                          )
                                                       )
RICHARD JOHNS                                          )
                                                       )
          Defendant.                                   )

                               DEFENDANT’S UNOPPOSED MOTION
                              TO CONTINUE TRIAL AND DEADLINES

          Richard Johns, Defendant, by and through undersigned counsel Amanda R. Lavin,

moves the court to continue the jury trial currently scheduled for June 3, 2019, and to vacate

and reschedule all other motions, deadlines and settings in this matter. Mr. Johns respectfully

requests that this matter be continued for an additional sixty days. In support, Mr. Johns

states:

          1.       Defendant entered a plea of not guilty to the indictment on April 3, 2019. (Doc.

                   17). The indictment charges him with violation of 18 U.S.C. §§ 1153, 2241(a)

                   and 2246(2)(A), 113(a)(6) and (8).

          2.       Mr. Johns has been in the custody of the United States Marshall Service since

                   the detention hearing held March 7, 2019, in front of the Honorable Jerry H.

                   Ritter.

          3.       Trial in this matter is currently scheduled for June 3, 2019.

          4.       Mr. Johns respectfully requests a continuance in order to adequately prepare
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           for trial, conduct defense investigation, file any appropriate pretrial motions,

           and importantly, negotiate a potential resolution of the case with the United

           States Government. Specifically, Mr. Johns requests an additional 60 days

           from the current setting to prepare for trial. Sixty days is the minimum amount

           of time that is required to accomplish the above-described tasks, which are all

           vital to his defense.

   5.      A continuance of sixty days is necessary for counsel to complete the following:

           A)     Defense investigation in this matter is ongoing.           Discovery was

                   disclosed on April 11, 2019. Undersigned counsel, together with Mr.

                   Johns, will need to conduct a thorough review of all discovery and any

                   necessary follow up investigation before proceeding to trial.

           B)     Time may also be needed to negotiate a potential resolution with the

                   Government in the event Mr. Johns does not wish to proceed to trial.

                   If no plea resolution is reached, time will be needed to file appropriate

                   pretrial motions and motions in limine, and otherwise prepare for trial.

6. Mr. Johns’ right to the effective assistance of counsel includes adequate time to

   prepare for trial and conduct defense investigation. Without that adequate time to

   prepare for trial, Mr. Johns will be denied his right to the effective assistance of

   counsel. As the Eleventh Circuit has recognized,

           Implicit in this right to counsel is the notion of adequate time for
           counsel to prepare the defense: “Disposition of a request for
           continuance . . . is made in the discretion of the trial judge, the
           exercise of which will ordinarily not be reviewed. But the denial
           of opportunity for appointed counsel to consult with the accused
           and to prepare his defense, could convert the appointment of
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             counsel into a sham and nothing more than a formal compliance
             with the Constitution’s requirement that an accused be given the
             assistance of counsel. The Constitution’s guarantee of assistance
             of counsel cannot be satisfied by mere formal appointment.”

      United States v. Verderame, 51 F.3d 249, 252 (11th Cir. 1995) (quoting Avery v.
Alabama, 308 U.S. 444, 446, 60 S.Ct. 321, 322 (1940).


   7. Mr. Johns agrees with this continuance and will not be prejudiced by this continuance.

   8. In compliance with the provisions of 18 U.S.C. § 3161(h)(7)(A), undersigned counsel

      affirmatively states that the ends of justice will be served by granting this extension

      of time in which to file motions and a continuance of the trial. See United States v.

      Hernandez-Mejia, 406 Fed. App’x. 330, 338 (10th Cir. 2011) (“The Speedy Trial Act

      was intended not only to protect the interests of defendants, but was also ‘designed

      with the public interest in mind.’”) (quoting United States v. Toombs, 574 F.3d 1262,

      1273 (10th Cir. 2009)). Undersigned counsel affirmatively states that the ends of

      justice will be served by granting this extension of time in which to file motions and

      a continuance of the trial. See United States v. Hernandez-Mejia, 406 Fed. App’x.

      330, 338 (10th Cir. 2011) (“The Speedy Trial Act was intended not only to protect the

      interests of defendants, but was also ‘designed with the public interest firmly in

      mind.’”) (quoting United States v. Toombs, 574 F.3d 1262, 1273 (10th Cir. 2009)).

      Additional time will allow the defense time to thoroughly review all of the discovery

      in this matter and to complete an investigation. Additionally, a continuance of the

      deadlines and jury trial in this matter will provide the government time to seek the

      requisite layers of approval so that the parties may resolve the case by way of plea

      agreement. Such a negotiated resolution would conserve judicial and prosecutorial
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   resources and could materially benefit Mr. Johns by providing him access to a more

   favorable resolution of this matter. This motion is not predicated upon the congestion

   of the Court’s docket.

9. A continuance that is aimed at avoiding an unnecessary trial and conserving judicial

   resources serves the purposes of the Speedy Trial Act. See Connolly v. United States,

   2013 WL 530869 (D. N.J. Feb. 11, 2013 (unpublished) (waste of prosecutorial and

   judicial resources and delay in the trial of other cases is contrary to the objectives

   underlying the Speedy Trial Act of 1974, 18 U.S.C. § 3161 et seq.); United States v.

   Stanton, 94 F.3d 643 (4th Cir. 1996) (unpublished) (“it is also clear that the obvious

   reason the district court granted the motion was to conserve judicial resources by

   avoiding potential piecemeal litigation, and this justified an ends of justice finding

   under § 3161”); United States v. Stradford, 394 F.App’x 923, 927, 2010 WL 3622995

   (3rd Cir. 2010) (unpublished) (affirming the grant of a continuance for several reasons

   including time to discuss plea negotiations and the continuance would likely conserve

   judicial resources).

10. Counsel for the government, Sarah Mease, Esq., does not oppose this motion.




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       WHEREFORE, Mr. Johns, by and through undersigned counsel, respectfully requests

that this Court continue the jury trial and motions deadline as set forth above.

                                          Respectfully Submitted,

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                                          Electronically filed May 20, 2019
                                          /s/ Amanda R. Lavin
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